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                                   United States District Court
                                 for the Southern District of Ohio
                                  Eastern Division at Columbus

  GONIDAKIS, et al.

                        Plaintiff(s),                                  Case No. 2:22-cv-773

         v.                                                            Chief Judge Algenon L. Marbley
                                                                       Judge Amul R. Thapar
                                                                       Judge Benjamin J. Beaton
                                                                       Magistrate Judge Deavers
  OHIO REDISTRICTING COMMISSION, et al.

                        Defendant(s).


                                        NOTICE OF DEFICIENCY

  March 29, 2022

  The Court’s docket reflects the filing of a motion for leave to appear pro hac vice in this case
  (ECF #106). S.D. Ohio Civ. R. 83.3(e) governs motions for leave to appear pro hac vice and
  states in part:
  “Any attorney seeking this type of admission must do so by: (i) filing a motion for admission on the
  form approved by the Court in each case in which the attorney wishes to appear, with the
  motion signed by a permanent member of the bar; (ii) providing a certificate of good standing from
  the highest court of a State or the District of Columbia that has been issued not more than six months
  prior to the date of the motion; and (iii) remitting any
  applicable admission fee.”

  The motion does not comply with Local Rule 83.3 for the following reason(s):

  ☐ The motion is not on the form approved by the Court.

  ☐ The motion is not signed by a permanent member of the bar of this Court.

  ☒ The motion is not accompanied by the required filing fee.

  ☐ The motion does not contain the required certificate of good standing.
    ☐ The certificate is not from the highest court of a State or the District of Columbia.
    ☐ The certificate was issued more than six months ago.

  ☐ Other:

                                                           By: /s/ Jodi L. Keener
                                                             Jodi L. Keener, Deputy Clerk
